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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

STEWART SMITH,
Plaintiff,
v. Case No. l9~l 170

EGV COMPANIES, INC.,

Defendant.

V\/\/\/\/`/\/VV

MOTION TO WITHDRAW OR STRIKE ANSWER

COMES NOW Defendant EGV COMPANIES, Inc., (“EGV”) by and through its undersigned
counsel, and WITH CONSENT ofPlaintiff, hereby files its Motion to Withdraw or Strike its AnsWer
in the above-styled cause of action, hereby states as follows:

l . Counsel for Defendant EGV Was recently retained as local counsel in the above-styled
cause.

2. Counsel mistakenly believed that its client Was under a deadline to file EGV’s Answer
to PlaintifF s Complaint by Apn'l 22, 2019, and said Answer needed to be filed on that date.

3. Counsel subsequently filed EGV’s Answer on April 22, 2019.

4. Unbeknownst to Local Counsel at that tiine, other counsel for the parties have been in
discussions and agreed to file a Stipulation With the Court, extending the date for EGV to file its
response to PlaintifPs Complaint, in order to continue their discussions without incurring further
litigation costs.

5. Counsel for EGV hereby requests that the Court allow EGV to Withdraw or strike its
AnsWer.

6. Plaintiff consents to EGV’s Motion.

 

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7. The parties will shortly file a Stipulation with the Court agreeing to extend the
deadline for EGV to file its response to PlaintifP s Complaint.

WHEREFORE, Defendant EGV hereby requests that the Court enter an Order allowing
Defendant EGV to withdraw or strike its Answer, and allow the Parties to subsequently file a

Stipulation agreeing to extend the deadline for EGV to file its response to Plaintift`s Complaint, and

any further Order this Court deems just and proper.

PION, NERONE, GIRMAN, WINSLOW & SMITH, P.C.

BY: /s/Timothy A. l\/[ontgomery

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Attorneysfor Defendant

 

 

 

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CERTIFICATE OF SERVICE

The undersigned hereby certifies that on this 2nd day of May, 2019, the foregoing was filed
electronically with the Clerk of Court, therefore to be served electronically by operation of the

Court’s electronic filing system upon the following:

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